Continued hearing shall be held on 7/30/2018 at 10:00 AM in Austin
Courtroom 1. Movant is responsible for notice.




IT IS HEREBY ADJUDGED and DECREED that the
below described is SO ORDERED.


Dated: July 16, 2018

                                              ________________________________________
                                                           TONY M. DAVIS
                                                 UNITED STATES BANKRUPTCY JUDGE
______________________________________________________________



                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION


In re                                           §
                                                §
RONCO HOLDINGS, INC.,                           §           CASE NO. 18-10511-TMD
                                                §
                      Debtor.                   §                    Chapter 11

                              ORDER GRANTING
                   DEBTOR’S MOTION TO CONTINUE HEARING ON
                             MOTION TO CONVERT

        This matter comes before the Court on Ronco Holdings, Inc.’s Motion to Continue

Hearing (the “Motion to Continue”) on the Debtor’s Motion to Convert (the “Motion to

Convert”) (filed at Docket No. 31). The Court, having considered the Motion to Continue, finds

that the Motion to Continue is meritorious and should be granted on the terms set forth herein.

        ACCORDINGLY, IT IS HEREBY ORDERED that the hearing on the Debtor’s

Motion to Convert is continued to the date and time set forth above. The Debtor shall be




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responsible for providing notice to all necessary parties and shall file a certificate of service

reflecting such service of notice within 24 hours of entry of this order.

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Order Submitted by:

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